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                              UNITED STATES DISTRICT COURT
 PHILIP DEVLIN                 WESTERN DISTRICT OF TEXAS
CLERK OF COURT                    501 West Fifth Street, Suite 1100
                                       Austin, Texas 78701


                                           May 15, 2024


   Saint Jovite Youngblood
   #70720510
   Burnet County Jail
   900 County Lane
   Burnet, Texas 78611

   RE:     USA v. Youngblood, 1:23-cr-135 RP

   Dear Mr. Youngblood:

   We are in receipt of your correspondence dated April 24, 2024, requesting forms to file
   an appeal and motion for ineffective counsel. Enclosed please find the forms that you
   requested.

   Sincerely,



   DM
   By:     Deputy Clerk/DM



   Enclosures:
   Forms
